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 9 HOWMET AEROSPACE INC. and
   SCHLOSSER FORGE COMPANY
10
11                          UNITED STATES DISTRICT COURT
12           CENTRAL DISTRICT OF CALIFORNIA – EASTERN DIVISION
13
     DAVID WALKER, an individual, on              Case No. 5:21-CV-01136
14   behalf of himself and all others similarly
     situated.                                    DEFENDANTS’ NOTICE OF
15
                        Plaintiff,                REMOVAL TO FEDERAL COURT
16   v.
     HOWMET AEROSPACE INC., a                     [28 U.S.C. §§ 1332, 1441, & 1446]
17
     Delaware corporation; SCHLOSSER
18   FORGE COMPANY, a Delaware                    (CONCURRENTLY FILED WITH
                                                  DECLARATION OF CARTER L. NORFLEET,
     corporation; and DOES 1-100, inclusive
19                                                DECLARATION OF REBECCA REID, CIVIL
                                                  COVER SHEET, NOTICE OF RELATED CASES,
20                      Defendants.
                                                  CERTIFICATION AND NOTICE OF
21                                                INTERESTED PARTIES)

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       DEFENDANTS’ NOTICE OF REMOVAL TO FEDERAL COURT PURSUANT TO 28 U.S.C. § 1332(D) - CLASS
                                     ACTION FAIRNESS ACT
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1      TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
2      TO:           Clerk, United States District Court for the Central District of
                     California;
3
       AND TO:       Plaintiff David Walker;
4
       AND TO:       Jeremy F. Bollinger, Dennis F. Moss, Ari E. Moss, Kiara Bramasco,
5                    Moss Bollinger LLP, Attorneys for Plaintiff
6                    PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §§ 1332,
7      1441, and 1446, Defendants Howmet Aerospace, Inc. and Schlosser Forge
8      Company. (together “Defendants”) hereby remove David Walker, et al. v.
9      Howmet Aerospace, Inc., et al., originally filed in the California Superior Court
10     in the County of Los Angeles, (Case No. CIVDS2022311) (the “State Court
11     Action”), to the United States District Court for the Central District of California.
12     In support of this removal, Defendants state as follows:
13            1.     As set forth below, the case is properly removed to this Court under 28
14     U.S.C. § 1441 because the Court has jurisdiction over this action under the Class
15     Action Fairness Act, 28 U.S.C. § 1332(d), in that this matter is a civil action in which
16     the amount in controversy exceeds the sum of $5,000,000 exclusive of costs and
17     interest, has more than 100 members in the putative class, and is between citizens of
18     different states.
19            2.     By filing this Notice of Removal, Defendants do not intend to waive,
20     and hereby reserve, any objection as to venue, the legal sufficiency of the claims
21     alleged in the State Court Action and all other defenses. Defendants reserve the right
22     to supplement and amend this Notice of Removal.
23                                          BACKGROUND
24            3.     On October 13, 2020, Plaintiff David Walker (“Plaintiff”) filed the
25     State Court Action as a Private Attorneys General Act (“PAGA”) only Complaint
26     naming Defendants. Plaintiff served Defendant Howmet Aerospace Inc. with a
27     Notice of Acknowledgement of Receipt (“NAR”), attaching copies of the PAGA
28     only Complaint, Summons, Civil Case Cover Sheet, Case Management Order,
                                                    2
         DEFENDANTS’ NOTICE OF REMOVAL TO FEDERAL COURT PURSUANT TO 28 U.S.C. § 1332(D) -
                                  CLASS ACTION FAIRNESS ACT
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1      Complex Litigation Guidelines, and Certificate of Assignment on November 9,
2      2020. Declaration of Carter L. Norfleet (“Decl.”) ¶ 2, Exhibit (“Ex.”) A. Defendant
3      Howmet Aerospace Inc. returned the NAR on November 29, 2020. Plaintiff served
4      Defendant Schlosser Forge Company with the same on November 30, 2020 and
5      Defendant Schlosser Forge Company returned the NAR on December 1, 2020. (Id.
6      at Ex. B)
7            4.     On January 11, 2021, Defendants filed an Answer to the PAGA only
8      Complaint in the State Court Action. Norfleet Decl. ¶ 3, Ex. C.
9            5.     A Joint Initial Case Management Conference Report was filed in the
10     State Court Action on January 21, 2021. Norfleet Decl. ¶ 4, Ex. D.
11           6.     On April 29, 2021, Plaintiff filed a Motion for Leave to File First
12     Amended Complaint (“FAC”) (attaching the FAC to his Motion). Norfleet Decl. ¶
13     5, Ex. E. Defendants filed their Opposition on May 24, 2021. (Id. at Ex. F). Plaintiff
14     filed his Reply on May 28, 2021. (Id. at Ex. G).
15           7.     On June 7, 2021, Plaintiff was granted leave of court to file a First
16     Amended Complaint (“FAC”), which was deemed filed on June 7, 2021. Norfleet
17     Decl. ¶ 6, Ex. H. The FAC adds class action allegations and causes of action.
18     Norfleet Decl. ¶ 6, Ex. I.
19           8.     On July 6, 2021, Defendants filed an Answer to the FAC in the State
20     Court Action. Norfleet Decl. ¶ 7, Ex. J.
21           9.     No other pleadings, process, or orders have been served upon
22     Defendants, or filed in the State Court Action. Norfleet Decl. ¶ 8.
23           10.    In accordance with the requirements of 28 U.S.C. § 1446(b), this Notice
24     of Removal is timely because it was filed within thirty (30) days of the filing of the
25     FAC in the State Court Action. (See Norfleet Decl. ¶ 6, Ex. I.) The FAC is the
26     initial pleading setting forth the claim for relief on which this removal is based.
27           11.    As required by 28 U.S.C. § 1446(d), written notice of this Notice of
28     Removal is being promptly served upon counsel for Plaintiff and a copy of this
                                                   3
         DEFENDANTS’ NOTICE OF REMOVAL TO FEDERAL COURT PURSUANT TO 28 U.S.C. § 1332(D) -
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1      Notice of Removal is being promptly filed with the Clerk of the Superior Court of
2      the State of California for the County of San Bernardino.
3             12.    Defendants are the only named defendants in this matter. Norfleet
4      Decl. ¶ 8.
5             13.    Although Plaintiff’s FAC names DOE defendants sued under fictitious
6      names, pursuant to 28 U.S.C. § 1441(b), the citizenship of defendants sued under
7      fictitious names is disregarded for purposes of removal jurisdiction.
8                                       BASIS FOR REMOVAL
9             14.    Removal is properly made to the United States District Court for the
10     Central District of California – Eastern Division under 28 U.S.C. § 1441(a), because
11     the Superior Court of the State of California for the County of San Bernardino, where
12     the State Court Action is currently pending, is within the Central District of
13     California.
14            15.    The Class Action Fairness Act of 2005 (“CAFA”) creates federal
15     jurisdiction over lawsuits in which “the matter in controversy exceeds the sum or
16     value of $5,000,000, exclusive of interest and costs, and is a class action in which .
17     . . any member of a class of plaintiffs is a citizen of a State different from any
18     defendant,” and involves a putative class that consists of more than 100 members.
19     28 U.S.C. §§ 1332(d)(2)(A) and (d)(5). Each of these three requirements is met.1
20                      THE PUTATIVE CLASS EXCEEDS 100 MEMBERS
21            16.    According to the FAC, the putative class is comprised of the following:
22     1
         A notice of removal need only provide a “short and plain statement of the grounds
23     for removal.” 28 U.S.C. § 1446(a). Because § 1446 tracks Rule 8’s liberal pleading
       standard, a notice of removal need only allege the grounds plausibly and need not
24     be supported by evidentiary submissions. See Dart Cherokee Basin Operating Co.,
       LLC v. Owens, 135 S. Ct. 547, 554 (2014) (“In sum, as specified in § 1446(a), a
25     defendant’s notice of removal need include only a plausible allegation that the
       amount in controversy exceeds the jurisdictional threshold. Evidence establishing
26     the amount is required by § 1446(c)(2)(B) only when the plaintiff contests, or the
       court questions, the defendant’s allegation.”); Roa v. TS Staffing Servs., Inc., No.
27     2:14-CV-08424-ODW, 2015 WL 300413, at *2 (C.D. Cal. Jan. 22, 2015) (“The
       ‘short and plain statement’ language from § 1446(a) applies to the entire notice of
28     removal, and therefore would apply equally to all CAFA allegations and not just the
       amount-in-controversy requirement.”)
                                                    4
           DEFENDANTS’ NOTICE OF REMOVAL TO FEDERAL COURT PURSUANT TO 28 U.S.C. § 1332(D) -
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1                  a.    Break and Unpaid Wages Class: All persons employed as a non-
2                        exempt employee by Defendants in California at any time from
3                        October 13, 2016 through the date Notice is mailed to the Class.
4                  b.    Break Premium Regular Rate Class: All members of the Break
5                        & Unpaid Wages Class who were paid a meal or rest break
6                        premium by Defendants in California at any time from October
7                        13, 2016 through the date Notice is mailed to the Class.
8                  c.    Donning and Doffing Class: All members of the Break &
9                        Unpaid Wages Class who were required by Defendants to don
10                       and/or doff protective clothing and gear that was necessary for
11                       them to perform their work, including a work shirt and pants,
12                       apron, safety boots, safety glasses, ear plugs, helmet, and/or N95
13                       mask in California at any time from October 13, 2016 through
14                       the date Notice is mailed to the Class.
15                 d.    Wage Statement Class: All members of the Break and Unpaid
16                       Wages Class who were employed by Defendants in California at
17                       any time from October 13, 2019 through the date Notice is
18                       mailed to the Class.
19                 e.    Waiting Time Penalty Class: All members of the Break and
20                       Unpaid Wages Class who were employed by Defendants in
21                       California at any time from October 13, 2017 through the date
22                       Notice is mailed to the Class, including, but not limited to,
23                       anyone who may have been reemployed by Defendants after
24                       their prior employment ended.
25                 f.    Reimbursement Class: All members of the Break & Unpaid
26                       Wages Class who were required by Defendants to wear N95
27                       masks and/or safety boots in the performance of their work duties
28
                                                  5
         DEFENDANTS’ NOTICE OF REMOVAL TO FEDERAL COURT PURSUANT TO 28 U.S.C. § 1332(D) -
                                  CLASS ACTION FAIRNESS ACT
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1                            for Defendants in California at any time from October 13, 2016
2                            through the date Notice is mailed to the Class.
3      (See Norfleet Decl. ¶ 6, Ex. I at ¶ 30.)
4               17.    Defendants allege that during the four years preceding the filing of the
5      FAC, they employed within the State of California, 3,020 hourly, non-exempt
6      employees. Declaration of Rebecca Reid (“Decl.”) ¶ 3. As such, the size of the
7      putative class exceeds 100 persons.
8                                     DIVERSITY OF CITIZENSHIP
9               18.    28 U.S.C. §1332(d)(2)(A) requires that “any member of a class of
10     plaintiffs is a citizen of a State different from any defendant.”
11              19.    At the time of commencement of this action in state court and at the
12     time of filing of this removal petition, Plaintiff David Walker was and still is a
13     natural person and citizen and resident of the State of California. (See Norfleet Decl.
14     ¶ 6, Ex. I at ¶ 7.)
15              20.    Defendants were and are incorporated under the laws of the State of
16     Delaware, and was in good standing at the time the State Court Action was filed and
17     at the time of the filing of this Notice. Howmet Aerospace Inc.’s principal place of
18     business is Pittsburgh, Pennsylvania. Howmet Global Fastening Systems Inc. is the
19     current subsidiary of Howmet Aerospace Inc. Schlosser Forge Company is an
20     affiliate of Howmet Global Fastening Systems Inc. (the current subsidiary of
21     Howmet Aerospace Inc.), and a subsidiary entity of Howmet Aerospace Inc. with a
22     principal place of business in Pittsburgh, Pennsylvania. (Reid Decl. ¶ 4.) Thus,
23     Defendants are a citizen of the State of Delaware and Pennsylvania, based on their
24     place of incorporation and principal place of business. (Id.)
25              21.    Because Plaintiff is a citizen of a different state than Defendants, the
26     minimal diversity requirement set forth in 28 U.S.C. § 1332(d)(2) is satisfied.
27     ///
28     ///
                                                      6
             DEFENDANTS’ NOTICE OF REMOVAL TO FEDERAL COURT PURSUANT TO 28 U.S.C. § 1332(D) -
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1             THE AMOUNT IN CONTROVERSY EXCEEDS $5,000,000
2             22.    Although Defendants deny all liability alleged in the FAC, if damages
3      or restitution were awarded on Plaintiff’s claims, the aggregate amount as to the
4      putative class would exceed $5,000,000.2
5             23.    Plaintiff alleges eight (8) causes of action on a class basis3 during the
6      putative class period. The caption of the FAC indicates that David walker is suing
7      Defendants as “an individual, on behalf of himself and all others similarly situated”
8      and asserts the following class claims:
9             (1) Failure to pay minimum wages;
10            (2) Failure to pay overtime wages;
11            (3) Failure to provide adequate meal periods and pay all premiums owed;
12            (4) Failure to pay all rest period premiums;
13            (5) Failure to furnish accurate itemized wage statements;
14            (6) Failure to timely pay all wages upon cessation of employment (waiting
15            time penalties);
16            (7) Failure to reimburse business expenses; and
17            (8) Violation of unfair competition laws.
18     (See Norfleet Decl. ¶ 6, Ex. I at ¶¶ 55-108.)
19
20
       2
         In order to establish the amount in controversy requirement is met, Defendants do
       not concede liability nor are they required to do so. See Ibarra v. Manheim
21     Investments, Inc., 775 F.3d 1193, 1198 n.1 (9th Cir. 2015) (“Even when defendants
       have persuaded a court upon a CAFA removal that the amount in controversy
22     exceeds $5 million, they are still free to challenge the actual amount of damages in
       subsequent proceedings and at trial. This is so because they are not stipulating to
23     damages suffered, but only estimating the damages that are in controversy.”); Lewis
       v. Verizon Communications, Inc., 627 F.3d 395, 400 (9th Cir. 2010) (“To establish
24     the jurisdictional amount, Verizon need not concede liability for the entire amount,
       which is what the district court was in essence demanding by effectively asking
25     Verizon to admit that at least $5 million of the billings were “unauthorized” within
       the meaning of the complaint.”). Moreover, defenses do not affect the amount in
26     controversy. See St. Paul Mercury Indem. Co. v. Red Cab Co., 303 U.S. 283, 295-
       296 (1938); Riggins v. Riggins, 415 F.2d 1259, 1261-1262 (9th Cir. 1969).
       3
27        Although Plaintiff brings a PAGA claim, the penalties associated with PAGA
       claims cannot be aggregated towards the $5,000,000 amount in controversy
28     requirement under CAFA. See generally Canela v. Costco Wholesale Corporation,
       971 F.3d 845 (9th Cir. 2020).
                                                    7
           DEFENDANTS’ NOTICE OF REMOVAL TO FEDERAL COURT PURSUANT TO 28 U.S.C. § 1332(D) -
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1             24.    In connection with his claims, Plaintiff seeks several categories of
2      monetary relief, including, inter alia, (1) unpaid minimum and overtime wages, (2)
3      prejudgment interest, (3) liquidated damages, (4) unpaid meal and rest period
4      premiums for each occurrence of an alleged missed meal or rest period, (5) waiting
5      time penalties, (6) unreimbursed business expenses, (7) costs of suit, and (8)
6      attorney’s fees (See Norfleet Decl. ¶ 6, Ex. I at Prayer.)
7             25.    Plaintiff’s unpaid overtime claim alleges that “Defendants maintained
8      and continue to maintain a policy or practice of requiring Plaintiff and members of
9      the Donning and Doffing Class to perform various duties before the start of
10     scheduled shifts on shifts of 8 hours or more in length, including donning and doffing
11     protective clothing and gear, but does not pay those employees for the time it takes
12     them to don and doff their apparel.” (See Norfleet Decl. ¶ 6, Ex. I at ¶ 64.) Further,
13     Plaintiff alleges that he “and other similarly situated individuals” were not paid for
14     “the approximately 10 minutes of work time required before the start of their shift
15     time.” (Norfleet Decl. ¶ 6, Ex. I at ¶ 13.) During the four years preceding the filing
16     of the FAC, Defendants had 3,020 nonexempt hourly employees4 who collectively
17     earned an average rate of $21.33 per hour. (Reid Decl. ¶¶ 3.) The overtime rate of
18     1.5 times this average hourly rate is: $31.99. Plaintiff asserts that he and the putative
19     class were not “[paid] . . . for the approximately 10 minutes of work time required
20     before the start of their scheduled shift time.” (See Norfleet Decl. ¶ 6, Ex. I at ¶ 13.)
21     Plaintiff further pleads that “[o]n shifts of 8 or more hours or in weeks in which
22     [Plaintiff] worked 40 or more hours, Defendant[s] owe [Plaintiff] for his unpaid
23     work time at [Plaintiff’s] overtime rate.” (Id.) Defendants allege that all putative
24     class members were scheduled to work five days a week, eight hours per day. (Reid
25     Decl. ¶ 5.) Reid The following amount in controversy is calculated by assuming
26
       4
27      This number is exclusive of those individuals who signed settlement and release
       agreements during the four years immediately preceding the filing of the FAC
28     (which relates back to the originally filed Complaint on October 13, 2020). 572
       employees signed such agreements. (Reid Decl. ¶ 3.)
                                                    8
           DEFENDANTS’ NOTICE OF REMOVAL TO FEDERAL COURT PURSUANT TO 28 U.S.C. § 1332(D) -
                                    CLASS ACTION FAIRNESS ACT
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1      50 minutes (or .83 hours) of unpaid overtime per week per employee during the four
2      years immediately preceding the filing of the FAC: $31.99 (average overtime rate)
3      x .83 (hours of unpaid overtime per week) x 511,899 (number workweeks during the
4      alleged class period)5 = $16,375,649.01. (Reid Decl. ¶ 3.) Defendants reasonably
5      allege that the amount in controversy for Plaintiff’s unpaid overtime Cause of Action
6      is $16,375,649.01. This cause of action on its own meets the amount in controversy
7      requirement of CAFA.
8             26.    With regard to Plaintiff’s claim for waiting time penalties under Labor
9      Code § 203, Defendants terminated 1,057 employees during the three years
10     immediately preceding the filing of the FAC.6 (Reid Decl. ¶ 3.) Labor Code § 203
11     provides continued wages for an employee not timely paid at the cessation of their
12     employment until paid or until suit is filed for a maximum of 30 days. See Cal. Lab.
13     Code § 203. Defendants allege that the average hourly wage for these 1,057 putative
14     class members is $21.33. (Reid Decl. ¶ 3.) Defendants further allege that all putative
15     class members were scheduled to work at least five days a week, eight hours per day.
16     (Id. at ¶ 5.) Thus, the potential damages for waiting time penalties is: $21.33
17     (average hourly rate for putative class) x 8 hours (scheduled shift length for putative
18     class members) x 30 days (maximum amount of days waiting time penalties can be
19     assessed – it has been longer than 30 days since these individuals separated from the
20     Company) x 1,057 non-exempt employees = $5,410,994.40. Defendants reasonably
21     allege that the amount in controversy for Plaintiff’s waiting time penalty Cause of
22     Action is $5,410,994.40. This cause of action on its own also meets the amount in
23     controversy requirement of CAFA.
24
25
       5
26       Again, this number is exclusive of those employees who signed settlement and
       release agreements during the four years immediately preceding the filing of the
27     FAC.
       6
         This number is exclusive of those individuals who signed settlement and release
28     agreements during the three years immediately preceding the filing of the FAC.
       572 employees signed such agreements. (Reid Decl. ¶ 3.)
                                                    9
           DEFENDANTS’ NOTICE OF REMOVAL TO FEDERAL COURT PURSUANT TO 28 U.S.C. § 1332(D) -
                                    CLASS ACTION FAIRNESS ACT
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1             27.    Calculating the amount in controversy for only two (2) of Plaintiff’s
2       eight (8) class causes of action yields an amount in controversy of $21,786,643.41,
3       well in excess of CAFA’s requirements. Both Plaintiff’s overtime wage and waiting
4       time penalties Causes of Action exceed CAFA’s requirements independently of each
5       other. If necessary, Defendants could allege additional amounts in controversy for
6       Plaintiff’s remaining claims. Additionally, Defendants can assume an attorney fee
7       amount of 25% of the total amount claimed by Plaintiff. There is no need to
8       specifically allege these amounts because Defendants easily meet the amount in
9       controversy requirement with their current allegations.
10            28.    Under CAFA, “the claims of all members of a putative class shall be
11      aggregated” to determine the amount in controversy. 28 U.S.C. § 1332(d)(6). Given
12      that the FAC seeks the above-described damages, exemplary damages, attorney’s
13      fees, and other relief, the matter in controversy exceeds the sum or value of
14      $5,000,000, exclusive of interest and costs, and therefore satisfies the jurisdictional
15      minimum set forth in 28 U.S.C. § 1332(d)(2).
16            WHEREFORE, Defendants respectfully request the removal of the State
17      Court Action from the Superior Court of the State of California for the County of
18      Los Angeles, to the United States District Court for the Central District of
19      California – Eastern Division.
20                                              K&L GATES LLP
21
22      Dated: July 7, 2021                     By: /s/ Carter L. Norfleet
                                                    EUGENE RYU
23                                                  CARTER L. NORFLEET
                                                    Attorneys for Defendants,
24                                                  HOWMET AEROSPACE INC. and
                                                    SCHLOSSER FORGE COMPANY
25
26
27
28
                                                    10
          DEFENDANTS’ NOTICE OF REMOVAL TO FEDERAL COURT PURSUANT TO 28 U.S.C. § 1332(D) -
                                   CLASS ACTION FAIRNESS ACT
